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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


 In re:
                                                                CHAPTER 11
 TALEN ENERGY SUPPLY, LLC, et al.
                    1
           Debtors.                                             CASE NO. 22-90054 (MI)



 DECLARATION OF JOHN S. KAPLAN IN SUPPORT OF PUGET SOUND ENERGY,
 AVISTA CORPORATION, PACIFICORP, AND PORTLAND GENERAL ELECTRIC
           COMPANY’S SUPPLEMENTAL BRIEF IN SUPPORT OF
           MOTION FOR RELIEF FROM THE AUTOMATIC STAY

          I, John S. Kaplan, declare as follows:

          1.      I am an attorney at Perkins Coie LLP and one of the attorneys representing Puget

Sound Energy, Inc., Avista Corporation, PacifiCorp, and Portland General Electric Company in

this matter.

          2.      I have personal knowledge of, and am competent to testify to, the matters set forth

in this Declaration.

          3.      Attached as Exhibit A is a true and correct copy of excerpts of the transcript of

the hearing in this matter on June 10, 2022.

                       I certify and attest that the foregoing statements made by me
               are true under penalty of perjury.

                          Dated this 20th day of June, 2022.

                                                         /s/ John S. Kaplan
                                                         John S. Kaplan



1A  complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed
claims and noticing agent at https://cases.ra.kroll.com/talenenergy. The Debtors’ primary mailing address is 1780
Hughes Landing Boulevard, Suite 800, The Woodlands, Texas 77380.

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on June 20, 2022, a true and correct copy of the foregoing document

was electronically filed in the case with the Clerk of the United States Bankruptcy Court by

using the CM/ECF system, and a copy was served on the parties who are entitled to receive

notice via the Court's ECF notification system.



                                                        /s/John S. Kaplan
                                                        John S. Kaplan




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